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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF ALASKA

STATE OF ALASKA,

              Plaintiff,
                                                Case No. 3:23-cv-00007-SLG
      v.

BRYAN NEWLAND, in his official capacity         UNITED STATES’ OPPOSITION
as Assistant Secretary, Indian Affairs, U.S.    TO THE STATE’S MOTION FOR
Department of the Interior;                     LEAVE TO FILE A SURREPLY
and U.S. DEPARTMENT OF THE
INTERIOR

              Defendants,

      and

CENTRAL COUNCIL OF THE TLINGIT &
HAIDA INDIAN TRIBES OF ALASKA,

              Intervenor-Defendant.




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       Pursuant to Alaska L. Civ. R. 7.1(a), Defendants Bryan Newland et al. (“United

States”) hereby oppose the State’s Motion for Leave to File a Surreply (“Motion). See

ECF-31. On February 1, 2024, the United States Department of the Interior (“Interior”)

issued Solicitor’s Opinion M-37079, addressing tribal jurisdiction over Alaska Native

allotments (“M-37079”). See ECF-30. On February 2, 2024, briefing in this case

concluded. See ECF-29. On February 5, 2024, the United States filed a Notice of

Supplemental Material to notify the Court of Interior’s issuance of M-37079, noting that

M-37079 is irrelevant to the disposition of this case. See ECF-30.

       The State filed the pending Motion on February 20, 2024. The State says it “seeks

a fair opportunity to respond to the new Solicitor’s Opinion.” ECF-31 at 4. But

M-37079 is not a docketed filing to which the Federal or Local Rules contemplate, or

allow, a response. The State suggests that its surreply constitutes a response to the United

States’ Notice of Supplemental Material, ECF-30. See ECF-31 at 2, 4. As such, it is

untimely. The State contends that its surreply was “offered 14 days after service of

Interior’s Notice of Supplemental Material, the same period allowed for in an

administrative appeal to file a reply.” Id. at 4. But the applicable Local Rule expressly

requires responses to supplemental Notices to be filed within 7—not 14—days of the

Notice. Further, the State’s surreply is overlength, as Alaska L. Civ. R. 7.1(d)(1) limits

responses to 350 words.

       Even if the State’s surreply could be interpreted as responding to the Reply filed

by the Central Council of the Tlingit & Haida Indian Tribes of Alaska (“Tribe”), ECF-29,


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the State missed the 14-day period for summary judgment replies. See Alaska L. Civ. R.

16.3(c)(3) (governing the time for replies in administrative agency appeals). Because

surreplies are not contemplated by the Federal or Local Rules, nor by the Scheduling

Order in this case (ECF-22), Alaska L. Civ. R. 16.3(c)(3) should govern and limit the

State’s time to seek leave to file a surreply to 14 days from the date of service of the

Tribe’s reply. The State missed that deadline by four days. The Court can and should

deny the Motion on those procedural grounds alone.

       Even if the Court considers the merits of the Motion, the Court should

nevertheless deny it. When deciding whether to grant leave to file a surreply, the Court

should consider “whether the . . . proposed surreply would be helpful to the resolution of

the pending motion.” TD Ameritrade, Inc. v. Matthews, No. 3:16-cv-00136-SLG, 2019

U.S. Dist. LEXIS 191827, at *8 n.40 (quoting Doe v. Exxon Mobil Corp., 69 F. Supp. 3d

75, 85 (D.D.C. 2014)). The State’s proposed surreply does not meet this standard for at

least three reasons.

       First, the relevance of tribal jurisdiction over Alaska Native allotments is not a

new matter to this case. See McManus v. Aleutian Region Sch. Dist., No. 3:20-cv-00099-

TMB, 2021 U.S. Dist. LEXIS 154384, at *11 n.56 (explaining that a party seeking leave

to file a surreply “must . . . show that a [surreply] is necessary to address new matters

raised in a reply to which a party would otherwise be unable to respond”) (emphasis

added). The State already raised this issue in prior briefing, and the United States and the

Tribe have responded to it. See ECF-25 at 9, 28–30 (the State’s arguments as to


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relevance); ECF-28 at 13–14 (the United States’); ECF-29 at 7–8 (the Tribe’s). The State

now proposes to more than double the pages dedicated to this issue without offering a

sufficient justification for doing so. See ECF-31-2.

       Second, as the United States has explained in prior briefing, whether tribes in

Alaska can exercise jurisdiction over Alaska Native allotments is irrelevant to the

disposition of this case.1 See Matthews, 2019 U.S. Dist. LEXIS 191827, at *8 (denying a

party’s motion for leave to file a surreply when “any new issues raised in [the opposing

party’s] reply [were] not directly related to the relief sought in its underlying motion”);

Cp Anchorage Hotel 2 v. Unite Here! Local 878, No. 3:18-cv-00071-SLG, 2018 U.S.

Dist. LEXIS 245095, at *1 n.1 (denying a party’s motion for leave to file a surreply in

part on the grounds that “the Court is not persuaded that [the issue raised in the proposed

surreply] is relevant”).

       Third, additional briefing on the relevance of M-37079 is inappropriate in the

context of this Administrative Procedure Act (“APA”) suit. Consistent with the APA, the

Court’s review is limited to the only final agency action at issue in this case: the Decision

for the Tribe. That review must be based on the administrative record the United States

provided to the Court, “‘not some new record made initially in the reviewing court.’”

Florida Power & Light Co. v. Lorion, 470 U.S. 729, 743 (1985) (quoting Camp v. Pitts,

411 U.S. 138, 142 (1973)). See also Alaska v. Fed. Subsistence Bd., No. 3:20-cv-00195-




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  So, too, is any speculation on the State’s part that Interior issued M-37079 in response
to or in relation to any briefing in this matter.
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SLG, 2021 U.S. Dist. LEXIS 253962, at *4 & n.6 (D. Alaska Aug. 24, 2021). The

recently issued M-37079 is appropriately not within the Administrative Record for this

case, as it was issued well after the Decision and thus could not have been relied on by

Interior at the time. Nor would using the proposed surreply to challenge M-37079, see

ECF-31-2 at 8–10, be appropriate. Even if M-Opinions were final agency actions subject

to challenge, see Ctr. for Biological Diversity v. U.S. BLM, No. CV 17-8587-GW(ASx),

2019 U.S. Dist. LEXIS 110580, at *28–40 (C.D. Cal. June 20, 2019) (rejecting such an

argument), it is not the action challenged here. Thus, briefing on M-37079 would be

inappropriate and therefore not “helpful to the resolution” of this matter. See Matthews,

2019 U.S. Dist. LEXIS 191827, at *8 n.40.

       In sum, a surreply is not necessary and would not help the Court resolve this case.

Nor would it serve the interests of justice, judicial economy, or any other purpose. The

Court should therefore deny the Motion. Alternatively, should the Court grant the

Motion, the United States respectfully requests the opportunity to file a short reply to the

State's surreply of no more than 2,500 words to address the State’s arguments.

                                      CONCLUSION

       For the foregoing reasons, the United States opposes the State’s Motion for Leave

to File a Surreply and respectfully requests that the Court deny that Motion or, in the

alternative, permit the United States to file a reply to the surreply of up to 2,500 words.


DATED: March 5, 2024



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                                       Respectfully submitted,

                                       TODD KIM
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                                       /s/ William J. Crum
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                             CERTIFICATE OF SERVICE

       I, William J. Crum, hereby certify that, on March 5, 2024, the foregoing UNITED
STATES’ OPPOSITION TO THE STATE’S MOTION FOR LEAVE TO FILE A
SURREPLY will be sent electronically to the registered parties as identified on the Notice
of Electronic Filing.

                                          /s/ William J. Crum
                                          WILLIAM J. CRUM, Trial Attorney
                                          Indian Resources Section
                                          Environment and Natural Resources Division
                                          United States Department of Justice

                         CERTIFICATE OF WORD COUNT

I certify that this document complies with Alaska L. Civ. R. 7.4(a)(2) because it contains
1,109 words.




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